                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:19-CR-00183-RJC-DCK
 USA                                          )
                                              )
    v.                                        )                      ORDER
                                              )
 PHILIP KETTER (5)                            )
                                              )

         THIS MATTER is before the Court on the defendant’s second pro se motion

to withdraw his guilty plea. (Doc. No. 272).

         The defendant continues to complain about the attorney who represented him

when he entered his plea; however, the defendant is currently represented by new

counsel. (Appointment of Counsel, July 22, 2021). Local Criminal Rule 47.1(g)

requires motions to be filed by counsel unless a defendant has formally waived his

right to counsel before a judicial officer.

         IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion is

DISMISSED.

         The Clerk is directed to certify copies of this order to the defendant, counsel

for the defendant, and to the United States Attorney.



                                          Signed: October 26, 2021




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